Case 1:13-cv-01835-RGA Document 348 Filed 08/31/17 Page 1 of 3 PageID #: 11623




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

TQ DELTA, LLC,
                      Plaintiff,              Civil Action No. 13-cv-1835-RGA
       v.

2WIRE, INC.
                      Defendant.
TQ DELTA, LLC,
                      Plaintiff,              Civil Action No. 13-cv-1836-RGA
       v.

ZHONE TECHNOLOGIES, INC.
               Defendant.
TQ DELTA, LLC,
               Plaintiff,                     Civil Action No. 13-cv-2013-RGA
     v.

ZYXEL COMMUNICATIONS, INC.
and
ZYXEL          COMMUNICATIONS
CORPORATION,
                Defendants.
TQ DELTA, LLC,
                Plaintiff,    Civil Action No. 14-cv-954-RGA
     v.

ADTRAN, INC.
                      Defendant.
ADTRAN, INC,
                      Plaintiff,              Civil Action No. 15-cv-121-RGA
       v.

TQ DELTA, LLC.
                      Defendant.

     FAMILY 1 PATENTS AMENDED JOINT CLAIM CONSTRUCTION CHART
       Pursuant to ¶ 9 of the Court's Third and Final Scheduling Order, dated April 10, 2017,

Plaintiff TQ Delta, LLC and Defendants in the above-captioned cases submit their Amended

Joint Claim Construction Chart (“Chart”) for the Family 1 Patents (U.S. Patent Nos. 7,835,430

(“the ’430 patent”), 7,889,784 (“the ’784 patent”), 8,238,412 (“the ’412 patent”), 7,570,686 (“the
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’686 patent”), and 8,432,956 (“the ’956 patent”)). The Chart attached as Exhibit A includes the

parties’ respective proposed constructions of the disputed language of the asserted claims of the

Family 1 Patents. The Chart includes citations to the parties’ intrinsic evidence in support of

such constructions. For the Court’s reference, also included in Exhibit A are the parties’ agreed

to constructions for language of the asserted claims. The parties reserve their rights to amend

and/or supplement their disclosures.

       In addition to the Joint Claim Construction Chart attached as Exhibit A, copies of the

Family 1 Patents and additional portions of the intrinsic record are attached as Exhibits B – H:

Exhibit                                        Description
  B       ’686 patent
  C       ’430 patent
  D       ’784 patent
  E       ’412 patent
  F       ’956 patent
  G       U.S. Provisional Patent Application No. 60/224,308
  H       Excerpts from the prosecution history of the ʼ686 patent
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Dated: August 31, 2017                 Respectfully submitted,

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